     Case 5:10-cr-00010     Document 52       Filed 03/29/10     Page 1 of 3 PageID #: 145




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                  CRIMINAL ACTION NO. 5:10-cr-00010-02

GERONIMO MCKINNEY,

                              Defendant.


                          MEMORANDUM OPINION AND ORDER

         On the 18th day of March, 2010, the Defendant, Geronimo McKinney, appeared in person

accompanied by his counsel, Mary Lou Newberger. The Government was represented by John L.

File, Assistant United States Attorney. The Court accepted the Defendant’s plea of guilty to

Conspiring to Distribute a Controlled Substance in violation of 21 U.S.C. § 841(a) and 21 U.S.C.

§ 846, and adjudged the Defendant guilty.

         Subsequent to the Court’s acceptance of the plea of guilty, the Court entertained the

Defendant’s motion for post conviction release. This Court erroneously advised counsel and the

Defendant that it could not consider exceptional circumstances under 21 U.S.C. § 3145. See U.S.

v. Goforth, 546 F.3d 712 (4th Cir. 2008). After the hearing concluded, counsel for the Defendant

filed a Motion to Reconsider Detention Order [Docket 43].

         Courts in various circuits have held that district courts can consider “exceptional

circumstances” under 18 U.S.C. § 3145 in determining whether a Defendant should be detained post

conviction. Goforth, 546 F.3d at 715-16; U.S. v. Carr, 947 F.2d 1239 (5th Cir. 1991); and U.S. v.

DiSomma, 951 F.2d 494 (2d Cir. 1991). The courts have also found that the determination of
  Case 5:10-cr-00010         Document 52        Filed 03/29/10      Page 2 of 3 PageID #: 146




exceptional circumstances will generally be fact intensive, and must be determined on a case by case

basis. Furthermore, at least one of these courts has indicated that “...the exception applies only

where justified by exceptional circumstances. Hardships that commonly result from imprisonment

do not meet the standard. The general rule must remain that conviction for a covered offense entails

immediate incarceration. Only in truly unusual circumstances will a defendant whose offense is

subject to the statutory provision be allowed to remain on bail pending appeal.” U.S. v. Garcia, 340

F.3d 1013, 1022 (9th Cir. 2003). Further, the Garcia court stated that “...the court should examine

the totality of the circumstances and, on the basis of that examination, determine whether, due to any

truly unusual factors or combination of factors .... it would be unreasonable to incarcerate the

defendant prior to the appellate court’s resolution of his appeal.” Id. at 1019.

       The Court, in DiSomma, found that “...a merely substantial question may be sufficient, in

the presence of one or more remarkable and uncommon factors, to support a finding of exceptional

reasons for the inappropriateness of detention. As in many things, a case by case evaluation is

essential...” DiSomma, 951 F.2d at 497.

       This Court has now reviewed the Defendant’s Motion To Reconsider Detention Order

[Docket 43] and counsel for the Defendant’s proffer relative to exceptional circumstances given

during the plea hearing. At the hearing, counsel stated,

       “He has complied with the conditions. He is – he and his wife are both going to
       prison, and at this point, he is the only breadwinner and they need to settle financial
       matters as well as they can. This is a long time for him to be detained pre-trial, and
       we’d ask the Court to continue him on his bond.”

First, the Court finds that the Defendant, McKinney, stands convicted of an offense prohibited by

the Uniform Controlled Substances Act, which carries a maximum term of imprisonment of twenty

(20) years. Further, the Court finds, after review of the Release Status Report To The Court and the

                                                  2
  Case 5:10-cr-00010        Document 52        Filed 03/29/10      Page 3 of 3 PageID #: 147




proffers of counsel, that the Defendant does not pose a risk of a non-appearance or a risk of danger

to the community. However, the Court finds that no facts supporting exceptional circumstances (as

that term has been shaped and defined by the applicable case law) were alleged at the plea hearing

on March 18, 2010, or in the Motion to Reconsider Detention Order, that support the release of the

Defendant pending sentence.

       Therefore, the Court ORDERS Defendant’s Motion To Reconsider Detention Order [Docket

43] DENIED and ORDERS that the Defendant be detained pending sentencing, and further

DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel, to the United States

Attorney, to the United States Probation Office and to the United States Marshal.

                                              ENTER:         March 29, 2010




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